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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

ERIC K. WATSON,                                   CASE NO. 2:08-cv-687
                                                  CRIM. NO. 2:04-cr-119(1)
       Petitioner,                                JUDGE MARBLEY
                                                  MAGISTRATE JUDGE KEMP
v.

UNITED STATES OF AMERICA,

       Respondent.

                         REPORT AND RECOMMENDATION

       On September 16, 2008, the Magistrate Judge granted respondent’s request to hold

this case in abeyance pending submission of petitioner’s attorney-client waiver, and

directed petitioner to submit such a waiver, as it relates to the claims raised in the instant

motion to vacate, set aside, or correct sentence, within thirty days. Doc. No. 197. The Court

advised petitioner that failure to submit such waiver within thirty days may result in

dismissal of this action. See id. To date, petitioner has failed to submit a waiver of his

attorney-client privilege.

       In view of the foregoing, the Magistrate Judge RECOMMENDS that this action be

DISMISSED.

       If any party objects to this Report and Recommendation, that party may, within ten (10)

days of the date of this report, file and serve on all parties written objections to those

specific proposed findings or recommendations to which objection is made, together with

supporting authority for the objection(s). A judge of this Court shall make a de novo

determination of those portions of the report or specified proposed findings or
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recommendations to which objection is made. Upon proper objections, a judge of this

Court may accept, reject, or modify, in whole or in part, the findings or recommendations

made herein, may receive further evidence or may recommit this matter to the magistrate

judge with instructions. 28 U.S.C. §636(b)(1).

       The parties are specifically advised that failure to object to the Report and

Recommendation will result in a waiver of the right to have the district judge review the

Report and Recommendation de novo, and also operates as a waiver of the right to appeal the

decision of the District Court adopting the Report and Recommendation. See Thomas v. Arn,

474 U.S. 140 (1985); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).

       IT IS SO ORDERED.

                                                          /s/ Terence P. Kemp
                                                          United States Magistrate Judge




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